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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

   ASIA HRYNIEWICKI, individually and
                                )
   on behalf of similarly situated individuals,
                                )
                                )
         Plaintiff,             )                        No. 19-cv-07569
                                )
                         v.     )                        Honorable Robert M. Dow, Jr.
                                )
   AMAZON WEB SERVICES, INC., a )
   Delaware corporation,        )
                                )
         Defendant.             )

             PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF ACTION
                      PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Asia

Hryniewicki (“Plaintiff”) hereby voluntarily dismisses this action without prejudice.

       1.        On November 11, 2019, Defendant Amazon Web Services, Inc. (“Defendant”)

removed this case to this Court from the Circuit Court of Lake County, Illinois. (Dkt. 1).

       2.        On January 13, 2020, Defendant filed a motion to dismiss Plaintiff’s Complaint.

(Dkts. 18-19).

       3.        On February 24, 2020, this case was consolidated with the case captioned Ragsdale

v. Amazon Web Services, Inc., Case No. 20-cv-560. (Dkt. 29).

       4.        On March 11, 2020, Case No. 20-cv-560 was dismissed without prejudice, and

Plaintiff was granted leave to file a First Amended Complaint. (Dkt. 31).

       5.        On August 12, 2020, the Court granted Plaintiff leave to file a motion to remand.

(Dkt. 48).

       6.        On August 28, 2020, Plaintiff filed her motion for partial remand. (Dkt. 49).

Plaintiff’s motion for partial remand has not been fully briefed. (Dkt. 56).


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       7.      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), a plaintiff may dismiss

an action without court order by filing a notice of dismissal before the defendant serves either an

answer or motion for summary judgment. Defendant has neither answered Plaintiff’s Complaint

nor served a motion for summary judgment.

       8.      Accordingly, Plaintiff hereby voluntarily dismisses this action without prejudice as

to all claims asserted by Plaintiff and the putative class.

Dated: December 18, 2020                               Respectfully submitted,

                                                       ASIA HRYNIEWICKI

                                                       By: /s/ Timothy P. Kingsbury
                                                          One of his attorneys

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 18, 2020, I caused the foregoing Plaintiff’s Notice of

Voluntary Dismissal of Action Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) to be electronically filed

with the Clerk of Court using the CM/ECF system. A copy of said document will be electronically

transmitted to all counsel of record.

                                                            /s/ Timothy P. Kingsbury




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